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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

MONSTER ENERGY COl\/IPANY,
Plaintiff,
V.

1 CHEN WENSHENG, et al.,

Defendants.

 

 

EASTERN DIVISION

Case No. lS-cv-4166
Judge Joan H. Lefkow

Magistrate Judge Daniel G. Martin

SATISFACTION OF JUDGMENT

WHEREAS, a judgment Was entered in the above action on July 27, 2015 [85], in favor of

Plaintiff l\/lonster Energy Company (“MEC”) and against the Defendants ldentitied in Schedule A

in the amount of one million dollars ($l,O()0,000) per Defaulting Defendant, and l\/IEC

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely Satisfy the same as to the following

Defendant:

 

Defendant Name

Line No. '

 

 

Sportfairings

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendaiits is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment

 

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Dated this 3rd day of October 2018. Re ect lly submit d,

C‘lzev]in/Wv. Guynn

Amy C. Ziegler

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Subscribed and sworn to me by Jessica L. Bloodgood, on this 3rd day of October 2018.

Given under by hand and notarial seal.

cArruN scHut-: / W\'/

omaalsea\ Notary Public

Notary Pub|ic v State of \|linois
My Commission Expires Nov 20, 2021

State of lllinois
County of Cook

 

